Cee
Case 2:19-cv-14620-ES-SCM Document5 Filed 07/22/19 Page 1 of 1 PagelD: 36

Gein Sky

 

 

 

 

. ° UNITED STATES DISTRICT COURT DISTRICT OF NEW JERSEY Sy UR INDEX #; 2:19-CV-14520-ES-SCM
Attorneys: Company: STEIN SAKS, PLLC PH: (201) 282-6500 x115 Date Filed: 07/02/2019
Address: 285 PAxSAIC STREET HACKENSACK, NJ 07601

Cllent’s File No.:
ERIC STOBEZKI
vs Plainti?
EQUIFAX INFORMATION SERVICES LLC, ET AL
Defandant
ST is counrvor_Q¢f4/) == ss: += AFFIDAVIT OF SERVICE
WVn man , ey) a" deposes and says:

Deponent is not a party herein, is over 18 years of age. On 1, AL / at L 5 40 pr :

at—i100 CHARLES EWING BLVD. STE 160, EWING. N.J 08628 , deponent served the within

 

SUMMONS IN A CIVIL CASE , COMPLAINT. DEMAND FOR JURY TRIAL

 

on: TRANS UNION, LLC C/O THE PRENTICE HALL CORPORATION SYSTEM, INC. , therein named.

 

 

#1 INDIVIDUAL By delivering a true copy of each to said recipient personally; deponent knew the person served to be the person
described as said person therein.

 
  
  

and that deponent knew

#2 CORPORATION By delivering thereat a true copy of e
the corporation, and authorized to

the person so served to be the
to accept service on behaif of the corporation,

#3 SUITABLE By delivering a true copy of each to a person of suitable age and discretion.
AGE PERSON Said premises is recipient's [ ) actual place of business [ ] dwelling house (usual place of abode) within the state.

#4 AFFIXING By affixing a true copy of each to the door of said premises, which is recipient's: { ) actual place of business
TODOOR [  } dwelling house (place of abode) within the state.

Deponent was unabie, with due diligence to find recipient or a person of suitable age and discretion, having called

 

 

 

 

 

 

 

 

thereat on the day of at
on the day of at
on the day of at
on the day of at
#5 MAILCOPY On_______————_, deponent completed service under the last two sections by depositing a copy of the
oO documents listed above to the above address in a 1st Class postpald properly addressed envelope marked

“Personal and Confidential” in an official depository under the exclusive care and custody of the
Ited States Post Office In the State of ;
and by Certified Mail #

#6 NON-SRVC After due search, careful inquiry and diligent attempts, | have been unable to effect process upon the persor/entity
C7 being served because of the following: [ ] Unknown at Address { ] Evading [ ) Moved left no forwarding
[ ) Address does not exist { ] Other:

#7DESCRIPTION A description of the Defendant, or gther parson served, or spokes to opbehalf of the Defendant Is as follows:
fae: Sex: ian Color of shine Boe Color of hair: Lia Age: 2 o Height: G
wan > Weight: Other Features:
#8 Wit EFES Subpoena Fee Tenderad in the amount of

 

 

 

,

 

 

#9 MILITARYSRVC Deponent asked person spoken to whether the recipient was presently in military service of the United States Governmant of of the State
of and was Informed that recipient was not. Recipient wore ordinary civilian clothes and no military u
#10 OTHER

Sworata before me on LZ— & 2a CH CL F/I ud]
BE OS ed Pint Nang alow Sonate

THERESA A. DING spveGIAteS
NOTARY PUBLIC OF NEW JERSEY
Comm. # 2227764 -
My Commission Expires 4/15/2023

 

 

 

 
